Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 1 of 58




          EXHIBIT 10
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 2 of 58


                                                                            Page 1
1                   MARK HANSEN - HIGHLY CONFIDENTIAL
2                      UNITED STATES DISTRICT COURT
3                   FOR THE DISTRICT OF MASSACHUSETTS
4                     CIVIL ACTION NO:      1:14-cv-14176
5
6        STUDENTS FOR FAIR ADMISSIONS, INC.,                 )
                                                             )
7                                          Plaintiff,        )
                                                             )
8        VS.                                                 )
                                                             )
9        PRESIDENT AND FELLOWS OF HARVARD                    )
         COLLEGE (HARVARD CORPORATION),                      )
10                                                           )
                                    Defendant.               )
11      -----------------------------------------
12
                                 DEPOSITION OF
13
                                  MARK HANSEN
14
                           BOSTON, MASSACHUSETTS
15
                         WEDNESDAY, JULY 19, 2017
16
                            HIGHLY CONFIDENTIAL
17                         ATTORNEY'S EYES ONLY
18
19
20
21
22
23
24   REPORTED BY: DENISE D. HARPER-FORDE
25   JOB NO: 127106


               TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 3 of 58


                                                                            Page 11
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2                 (BY MR. CONNOLLY):
3           Q.    Did you ever interact with Dean
4    Fitzsimmons when you were at Harvard?
5           A.    I'm not sure what you're asking.
6           Q.    How can I clarify?
7           A.    I was present in meetings with
8    him.
9           Q.    Do you ever recall being in a
10   meeting with Dean Fitzsimmons and
11   discussing your analysis of race and the
12   admissions process?
13                MR. DULBERG:    Objection.
14                THE WITNESS:    I'm sorry.     Can you
15   repeat the question.
16                (Whereupon, the last question was
17                 read back by the Court Reporter)
18                THE WITNESS:    I think that would
19   have been the subject of more than one
20   meeting.     So I don't have a specific
21   memory.
22                (BY MR. CONNOLLY):
23          Q.    Do you recall who else would have
24   been at these meetings with Dean
25   Fitzsimmons?


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 4 of 58


                                                                            Page 12
1               MARK HANSEN - HIGHLY CONFIDENTIAL
2                MR. DULBERG:     Objection.
3                THE WITNESS:     In a general sense,
4    and to the best of my recollection, likely
5    Erica Bever and Erin Driver-Linn, and Dean
6    Fitzsimmons.
7                (BY MR. CONNOLLY):
8          Q.    Do you know approximately how many
9    meetings you had with Dean Fitzsimmons in
10   which your analysis of race and the
11   admissions process was a topic of
12   discussion?
13               MR. DULBERG:     Objection.
14               THE WITNESS:     I don't know that I
15   recall.
16               (BY MR. CONNOLLY):
17         Q.    More than one?
18               MR. DULBERG:     Objection.
19               THE WITNESS:     Yes.
20               (BY MR. CONNOLLY):
21         Q.    More than three?
22               MR. DULBERG:     Objection.
23               THE WITNESS:     I don't recall.
24               (BY MR. CONNOLLY):
25         Q.    Can you recall anything that was


                TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 5 of 58


                                                                            Page 13
1               MARK HANSEN - HIGHLY CONFIDENTIAL
2    discussed at these meetings?
3                MR. DULBERG:     Objection.
4                THE WITNESS:     I think only in very
5    general terms.
6                (BY MR. CONNOLLY):
7          Q.    What do you remember generally?
8                MR. DULBERG:     Objection.
9                THE WITNESS:     The use of early
10   action.    Admissions preferences, and
11   admissions process, arbitration.          And some
12   question involving gender and people
13   majoring in science technology and stem
14   engineering mathematics.
15               (BY MR. CONNOLLY):
16         Q.    Do you recall ever being at a
17   meeting with Dean Fitzsimmons in which the
18   topic of discussion was whether Asians were
19   being disadvantaged in the admissions
20   process?
21               MR. DULBERG:     Objection.
22               THE WITNESS:     I don't know that I
23   remember a specific meeting, but I recall
24   that is a topic.
25               (BY MR. CONNOLLY):


                TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 6 of 58


                                                                            Page 14
1               MARK HANSEN - HIGHLY CONFIDENTIAL
2          Q.    A topic that you had discussed at
3    one of these meetings?
4          A.    Yes.
5          Q.    Do you know approximately how many
6    meetings with Dean Fitzsimmons you attended
7    in which the topic was whether Asians were
8    being disadvantaged in the admissions
9    process?
10               MR. DULBERG:     Objection.
11               THE WITNESS:     I don't recall.
12               (BY MR. CONNOLLY):
13         Q.    More than one?
14               MR. DULBERG:     Objection.
15               THE WITNESS:     To the best of my
16   recollection, yes.
17               (BY MR. CONNOLLY):
18         Q.    When you had these discussions
19   about whether Asians are disadvantaged in
20   the admissions process, was it about
21   analysis that you had conducted?
22               MR. DULBERG:     Objection.
23               THE WITNESS:     The framing of the
24   question where you refer to -- so a lot of
25   our work in The Office of Institutional


                TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 7 of 58


                                                                            Page 15
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    Research was very collaborative.
3                 So anything discussed was usually a
4    joint project.     That would have been a
5    topic, but the "your" piece of the question
6    is problematic.
7                 (BY MR. CONNOLLY):
8          Q.     Were you one of the individuals who
9    worked on this analysis?
10               MR. DULBERG:     Objection.
11               THE WITNESS:     Yes.
12               (BY MR. CONNOLLY):
13         Q.    Who else worked on the analysis
14   into whether Asians are disadvantaged in
15   the admissions process?
16               MR. DULBERG:     Objection.
17               THE WITNESS:     I don't recall
18   specifically.
19               (BY MR. CONNOLLY):
20         Q.    Did Erica Bever work on this
21   analysis?
22               MR. DULBERG:     Objection.
23               THE WITNESS:     I don't recall
24   specifically, but she likely would have
25   reviewed any work.


                TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 8 of 58


                                                                            Page 16
1               MARK HANSEN - HIGHLY CONFIDENTIAL
2                (BY MR. CONNOLLY):
3          Q.    Would Erin Driver-Linn have worked
4    on this analysis?
5                MR. DULBERG:     Objection.
6                THE WITNESS:     I don't recall.      But
7    she likely would have reviewed the work.
8                (BY MR. CONNOLLY):
9          Q.    Do you know approximately how many
10   months you worked on the analysis into
11   whether Asians are disadvantaged in
12   Harvard's admissions process.
13               MR. DULBERG:     Objection.
14               THE WITNESS:     I do not.
15               (BY MR. CONNOLLY):
16         Q.    More than one?
17               MR. DULBERG:     Objection.
18               THE WITNESS:     Yes.
19               (BY MR. CONNOLLY):
20         Q.    More than three?
21               MR. DULBERG:     Objection.
22               THE WITNESS:     Yes.
23               (BY MR. CONNOLLY):
24         Q.    More than six?
25               MR. DULBERG:     Objection.


                TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 9 of 58


                                                                            Page 18
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2                 THE WITNESS:    I don't recall.
3                 (BY MR. CONNOLLY):
4           Q.    Do you recall ever doing any
5    follow-up analysis into whether Asians were
6    disadvantaged in Harvard's admissions
7    process?
8                 MR. DULBERG:    Objection.
9                 THE WITNESS:    In a general sense,
10   yes.
11                (BY MR. CONNOLLY):
12          Q.    Do you know why you would have
13   conducted this follow-up research?
14                MR. DULBERG:    Objection.
15                THE WITNESS:    To incorporate
16   additional data analysis not originally
17   available to us in our original analysis or
18   exploratory work.
19                (BY MR. CONNOLLY):
20          Q.    Can you tell me who at Harvard was
21   aware of your analysis of whether Asians
22   were being disadvantaged in Harvard's
23   admissions process?
24                MR. DULBERG:    Objection.
25                THE WITNESS:    Sorry.    Could you


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 10 of 58


                                                                         Page 29
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2           Q.    Did you ever check your Harvard
3    E-mail on your iPod Touch?
4           A.    I can't recall.
5           Q.    Would it have been possible to
6    check your E-mail from Harvard on your iPod
7    Touch?
8                 MR. DULBERG:    Objection.
9                 THE WITNESS:    Yes.
10                (BY MR. CONNOLLY):
11          Q.    Do you know if it's possible that
12   your iPod Touch has any documents or E-mail
13   from your time at Harvard?
14                MR. DULBERG:    Objection.
15                THE WITNESS:    I don't know.
16                (BY MR. CONNOLLY):
17          Q.    Has anybody from Harvard searched
18   your iPod Touch?
19                MR. DULBERG:    Objection.
20                THE WITNESS:    No.
21                (BY MR. CONNOLLY):
22          Q.    Where did you go to College?
23          A.    Boston University.
24          Q.    And what did you major in?
25          A.    Pure and applied mathematics.


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 11 of 58


                                                                         Page 30
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2           Q.    Do you have any additional
3    education?
4                 MR. DULBERG:    Objection.
5                 THE WITNESS:    Yes, I have a Masters
6    Degree.
7                 (BY MR. CONNOLLY):
8           Q.    Where is that from?
9           A.    The Harvard Graduate School of
10   Education.
11          Q.    Why did you attend the Harvard
12   Graduate School of Education?
13                MR. DULBERG:    Objection.
14                THE WITNESS:    In particular?
15                (BY MR. CONNOLLY):
16          Q.    Just generally?
17                MR. DULBERG:    Objection.
18                THE WITNESS:    I have worked in
19   Student Affairs for 2 or 3 years, and was
20   reaching a point where I needed further
21   education to advance my career.
22                (BY MR. CONNOLLY):
23          Q.    How did you work in Student Affairs
24   before that?
25          A.    Before attending Graduate school?


                 TSG Reporting - Worldwide - 877-702-9580
     Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 12 of 58


                                                                       Page 40
1            MARK HANSEN - HIGHLY CONFIDENTIAL
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25


             TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 13 of 58


                                                                         Page 55
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2           Q.    How so?
3           A.    It would be essentially polls of
4    students and faculty.
5           Q.    Do you recall any work of OIR ever
6    being shared with the governing boards?
7                 MR. DULBERG:    Objection.
8                 THE WITNESS:    I can't recall.       I'm
9    not sure.     Could you clarify "governing
10   boardS".
11                (BY MR. CONNOLLY):
12          Q.    I am looking at the second bullet
13   here where it says "the governing
14   boards"?
15          A.    I don't recall.     I'm not sure.
16          Q.    Do you recall any changes to
17   Harvard policy ever being made following
18   the work of The Office of Institutional
19   Research?
20                MR. DULBERG:    Objection.
21                THE WITNESS:    Yes.
22                (BY MR. CONNOLLY):
23          Q.    What are those policies?
24                MR. DULBERG:    Objection.
25                THE WITNESS:    To the best of my


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 14 of 58


                                                                         Page 56
1                 MARK HANSEN - HIGHLY CONFIDENTIAL
2    recollection, the reintroduction of early
3    action in admissions.
4                  (BY MR. CONNOLLY):
5            Q.    Anything else?
6            A.    Modification to Harvard's financial
7    policy.
8            Q.    Anything else?
9            A.    Not that I can recall.
10           Q.    Do you recall generally the work
11   that OIR did regarding early action?
12           A.    Yes.
13           Q.    And what was that work?
14                 MR. DULBERG:   Objection.
15                 THE WITNESS:   I'm not sure what you
16   mean.
17                 (BY MR. CONNOLLY):
18           Q.    What type of work or analysis did
19   OIR do with regard to early action?
20                 MR. DULBERG:   Objection.
21                 THE WITNESS:   I can only recall
22   essentially descriptive analysis of student
23   populations pre and post change.
24                 (BY MR. CONNOLLY):
25           Q.    And do you recall the work that OIR


                  TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 15 of 58


                                                                         Page 59
1                 MARK HANSEN - HIGHLY CONFIDENTIAL
2    The Office of Institutional Research and
3    it's functions.
4                   (BY MR. CONNOLLY):
5            Q.    Would this have been possibly a
6    presentation?
7                  MR. DULBERG:   Objection.
8                  THE WITNESS:   I'm really not
9    sure.
10                 (BY MR. CONNOLLY):
11           Q.    Turn to page 68154.     Have you ever
12   seen this type of chart before?
13                 MR. DULBERG:   Objection.
14                 THE WITNESS:   Yes.
15                 (BY MR. CONNOLLY):
16           Q.    Can you describe for me generally
17   what this chart represents?
18                 MR. DULBERG:   Objection.
19                 THE WITNESS:   It would be an
20   organizational chart of our office, and it
21   looks like Erin Driver-Linn's other direct
22   reports.
23                 (BY MR. CONNOLLY):
24           Q.    Sorry.   You said director
25   reports?


                  TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 16 of 58


                                                                         Page 60
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2           A.    Direct reports.
3           Q.    Okay.   Can he tell me who Erica
4    Bever is?
5           A.    I'm not sure what you're asking.
6           Q.    Was she the person that you
7    directly reported to?
8                 MR. DULBERG:    Objection.
9                 THE WITNESS:    Yes.    I mean, for a
10   period of time.
11                (BY MR. CONNOLLY):
12          Q.    As a general matter, would you and
13   Ms. Bever collaborate on most of your
14   projects?
15                MR. DULBERG:    Objection.
16                THE WITNESS:    Most, but not all.
17                (BY MR. CONNOLLY):
18          Q.    Is there a reason you reported to
19   Ms. Bever?
20                MR. DULBERG:    Objection.
21                THE WITNESS:    I don't know.
22                (BY MR. CONNOLLY):
23          Q.    Can you describe the type of work
24   that Ms. Bever would do?
25                MR. DULBERG:    Objection.


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 17 of 58


                                                                         Page 85
1                  MARK HANSEN - HIGHLY CONFIDENTIAL
2                   MR. DULBERG:   Objection.
3                   THE WITNESS:   Yes.
4                   (BY MR. CONNOLLY):
5             Q.    If you turn to page 74892, it says:
6    "The goal is using various admissions
7    ratings, how well can we approximate admit
8    rates by race/ethnicity and the demographic
9    composition of the admitted students pool."
10                  Can you elaborate a little more by
11   what you meant by that statement?
12                  MR. DULBERG:   Objection.
13                  THE WITNESS:   I really don't
14   recall, and I have no way to know if these
15   were edited or not before being passed on
16   to Erica.       I'm not quite sure of the
17   source.
18                  I don't know if I can elaborate if
19   I was the author of the full statement,
20   what I would have meant beyond what is
21   written on the page.
22                  (BY MR. CONNOLLY):
23          Q.      What is a logistic regression
24   model?
25          A.      Keeping in mind that my statistics


                   TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 18 of 58


                                                                         Page 86
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    education is fairly rusty at this point, I
3    have not done any real statistics in some
4    time since, probably since I was at
5    Harvard.
6                 In a very crude way, it's a model
7    that as an output gives you probabilities
8    based on predictors put into it.
9           Q.    Why would somebody use a logistical
10   regression model?
11                MR. DULBERG:    Objection.
12                THE WITNESS:    Generally to get
13   probabilities as an output.
14                (BY MR. CONNOLLY):
15          Q.    Do you remember why you were
16   conducting the analysis that is described
17   in this document?
18                MR. DULBERG:    Objection.
19                THE WITNESS:    Yes.
20                (BY MR. CONNOLLY):
21          Q.    And what is that reason?
22                MR. DULBERG:    Objection.
23                THE WITNESS:    In a general sense,
24   it would have had to do with projects
25   you're working on the prior winter, related


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 19 of 58


                                                                        Page 100
1                  MARK HANSEN - HIGHLY CONFIDENTIAL
2    the admissions process at Harvard?
3                   MR. DULBERG:   Objection.
4                   THE WITNESS:   Could you repeat the
5    question.
6                   (BY MR. CONNOLLY):
7             Q.    Do you think these numbers provide
8    evidence that Asians are disadvantaged in
9    the admissions process at Harvard?
10                  MR. DULBERG:   Objection.
11                  THE WITNESS:   I don't know if there
12   is enough to reach a firm conclusion in
13   either direction.
14                  (BY MR. CONNOLLY):
15          Q.      Do you recall ever showing any of
16   this information to anybody else?
17                  MR. DULBERG:   Objection.
18                  THE WITNESS:   Yes, in a general
19   sense.
20                  (BY MR. CONNOLLY):
21          Q.      Who?
22          A.      Dean Fitzsimmons, and very likely
23   others in the office.
24          Q.      Anyone in particular that you can
25   think of?


                   TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 20 of 58


                                                                        Page 103
1                  MARK HANSEN - HIGHLY CONFIDENTIAL
2    would have received this in advance.           So
3    the meetings we are talking about may have
4    been the first time.          I don't know.
5                   (BY MR. CONNOLLY):
6             Q.    Do you remember more than one
7    meeting in which you were with Dean
8    Fitzsimmons, and the information in this
9    report was discussed?
10                  MR. DULBERG:    Objection.
11                  THE WITNESS:    I don't have any
12   specific memory of more than one meeting
13   where this would have been discussed.           It's
14   likely, but I don't recall.
15                  (BY MR. CONNOLLY):
16          Q.      You said it's likely, but you don't
17   recall?
18          A.      Yes.
19          Q.      Do you recall doing any additional
20   research into whether Asians were
21   disadvantaged in the admissions process?
22                  MR. DULBERG:    Objection.
23                  THE WITNESS:    Yes, in a general
24   sense.
25                  (BY MR. CONNOLLY)


                   TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 21 of 58


                                                                        Page 105
1                  MARK HANSEN - HIGHLY CONFIDENTIAL
2    question.
3                   (BY MR. CONNOLLY):
4             Q.    Is it your testimony that you
5    remember multiple iterations into whether
6    Asians were being disadvantaged in the
7    admissions process?
8                   MR. DULBERG:    Objection.
9                   THE WITNESS:    Yes.
10                  (BY MR. CONNOLLY):
11                  MR. CONNOLLY:   Shall we break for
12   lunch.
13                  (Off the record at 11:57 AM)
14                       (Lunch break taken)
15                   (Back on the record at 12:38)
16                  MR. CONNOLLY:   I would like to mark
17   as Exhibit 5 a document Bates number 65741.
18                  (Whereupon, Exhibit No. 5,
19                   Admissions 2013 Presentation, was
20                   marked for identification).
21                  (BY MR. CONNOLLY):
22          Q.      Please review this, and let me know
23   when you have finished.        Do you recognize
24   this document?
25          A.      Only in a very general sense, and


                   TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 22 of 58


                                                                        Page 107
1                  MARK HANSEN - HIGHLY CONFIDENTIAL
2                   THE WITNESS:   I'm not sure.
3    Subject to the same caveats before.
4                   (BY MR. CONNOLLY):
5             Q.    Turn to page 65743.    Can you
6    describe to me generally what this chart
7    represents?
8                   MR. DULBERG:   Objection.
9                   THE WITNESS:   Yes.
10                  (BY MR. CONNOLLY):
11          Q.      What does it represent?
12                  MR. DULBERG:   Objection.
13                  THE WITNESS:   The admit rates by
14   ethnicity.
15                  (BY MR. CONNOLLY):
16          Q.      Do you know why you were only
17   looking at Whites and Asians in this
18   chart?
19                  MR. DULBERG:   Objection.
20                  THE WITNESS:   Repeat the
21   question.
22                  (BY MR. CONNOLLY):
23          Q.      Do you know why you were only
24   looking at Whites and Asians in this
25   chart?


                   TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 23 of 58


                                                                        Page 108
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2                 MR. DULBERG:    Objection.
3                 THE WITNESS:    I believe for a
4    descriptive depth for our future
5    progression analysis.
6                  (BY MR. CONNOLLY):
7           Q.    Is this document one of the
8    iterations that you described earlier into
9    whether Harvard's admissions process
10   disadvantages Asians?
11                MR. DULBERG:    Objection.      Objection
12   also to the extent that it mischaracterizes
13   the prior testimony.
14                THE WITNESS:    I'm sorry.      Can you
15   repeat the question.
16                (BY MR. CONNOLLY):
17          Q.    Is this document one of the
18   iterations you referenced earlier about
19   whether Harvard's admissions process
20   disadvantages Asians?
21                MR. DULBERG:    Objection.
22                THE WITNESS:    It seems likely,
23   yes.
24                (BY MR. CONNOLLY):
25          Q.    Do you recall whether this document


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 24 of 58


                                                                        Page 109
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    was drafted in response to any questions
3    asked of you or OIR?
4                 MR. DULBERG:    Objection.
5                 THE WITNESS:    I don't recall.
6                 (BY MR. CONNOLLY):
7           Q.    As a general matter, would it be
8    connected to the research you were doing
9    related to the Ron Unz article?
10                MR. DULBERG:    Objection.
11                THE WITNESS:    I think as a general
12   matter, yes.     At least it's likely.
13                (BY MR. CONNOLLY):
14          Q.    Can you turn to page 65745.        Can
15   you tell me what this chart shows?
16                MR. DULBERG:    Objection.
17                THE WITNESS:    It would be
18   standardized differences in test scores and
19   ratings for White and Asian applicants.
20                (BY MR. CONNOLLY):
21          Q.    And what does it show for academic
22   rating?
23                MR. DULBERG:    Objection.
24                THE WITNESS:    On average Asian
25   applicants have an academic rating that is


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 25 of 58


                                                                        Page 110
1                 MARK HANSEN - HIGHLY CONFIDENTIAL
2    .245 standard deviations higher than White
3    applicants.
4                  (BY MR. CONNOLLY):
5            Q.    What does it show for personal
6    rating?
7                  MR. DULBERG:   Objection.
8                  THE WITNESS:   On average Asian
9    applicants have a personal rating that is
10   .13 standard deviation over White
11   applicants.      This is also subject to the
12   caveats listed below in the bullet
13   points.
14                 (BY MR. CONNOLLY):
15           Q.    That it excludes legacy and
16   athletes?
17           A.    Yes, and it looks like there is
18   maybe a year where there is no ratings
19   data.
20           Q.    Do you know why Asians had lower
21   personal ratings than Whites?
22                 MR. DULBERG:   Objection.
23                 THE WITNESS:   I do no.
24                 (BY MR. CONNOLLY):
25           Q.    Did you ever hear anyone put forth


                  TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 26 of 58


                                                                        Page 111
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    the hypothetical as to why Asians have
3    lower personal ratings than Whites?
4                 MR. DULBERG:    Objection.
5                 THE WITNESS:    I don't recall, no.
6                 (BY MR. CONNOLLY):
7           Q.    Do you recall anyone at Harvard
8    ever saying that Asians were less
9    personable than Whites?
10                MR. DULBERG:    Objection.
11                THE WITNESS:    No.
12                (BY MR. CONNOLLY):
13          Q.    Do you have any explanation as to
14   why there would be such a big difference
15   between the personal ratings between Whites
16   and Asians?
17                MR. DULBERG:    Objection.
18                THE WITNESS:    I do not know.
19                (BY MR. CONNOLLY):
20          Q.    Do you recall ever discussing the
21   fact that Asians have worse personal
22   ratings than Whites?
23                MR. DULBERG:    Objection.
24                THE WITNESS:    Yes.
25                (BY MR. CONNOLLY):


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 27 of 58


                                                                        Page 112
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2           Q.    Who did you discuss it with?
3                 MR. DULBERG:    Objection.
4                 THE WITNESS:    I don't recall.
5                 (BY MR. CONNOLLY):
6           Q.    How do you know that you had this
7    conversation?
8                 MR. DULBERG:    Objection.
9                 THE WITNESS:    I think we wanted
10   to -- "we" being -- I'm not sure who "we"
11   is, but in the OIR sense have a better
12   sense of what a personal rating is actually
13   evaluating, what inputs go into it.
14                (BY MR. CONNOLLY):
15          Q.    Do you remember having any reaction
16   to seeing this chart?
17                MR. DULBERG:    Objection.
18                THE WITNESS:    Yes.
19                (BY MR. CONNOLLY):
20          Q.    What was your reaction?
21          A.    Just curiosity.
22          Q.    Would you admit that this seems a
23   little strange?
24                MR. DULBERG:    Objection.
25                THE WITNESS:    I don't know that I


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 28 of 58


                                                                        Page 113
1                 MARK HANSEN - HIGHLY CONFIDENTIAL
2    could characterize it as "strange" or not
3    "strange".      I would characterize it as
4    something I would look into more to see
5    what it is trying to measure.
6                  (BY MR. CONNOLLY):
7            Q.    Do you recall looking into it
8    more?
9                  MR. DULBERG:   Objection.
10                 THE WITNESS:   Only in the most
11   general sense.
12                 (BY MR. CONNOLLY):
13           Q.    In what way?
14                 MR. DULBERG:   Objection.
15                 THE WITNESS:   I have a recollection
16   of asking how they are assigned.
17                 (BY MR. CONNOLLY):
18           Q.    To someone in the admissions
19   office?
20           A.    I don't recall.
21           Q.    Turn to page 65746.     Can you
22   describe to me what this chart shows?
23                 MR. DULBERG:   Objection.
24                 THE WITNESS:   This is number 6?
25                 (BY MR. CONNOLLY):


                  TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 29 of 58


                                                                        Page 114
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2           Q.    Yes?
3           A.    So two things.     Number one, being
4    accounts of applicants by a standardized
5    academic index, and then admit rates
6    excluding legacy and athletes.
7           Q.    As an initial matter, do you know
8    why you excluded legacy and athletes?
9                 MR. DULBERG:    Objection.
10                THE WITNESS:    Could you repeat the
11   question.
12                (BY MR. CONNOLLY):
13          Q.    Do you know why you excluded legacy
14   and athletes from this chart?
15                MR. DULBERG:    Objection.
16                THE WITNESS:    Generally yes.
17                (BY MR. CONNOLLY):
18          Q.    What was that reason?
19                MR. DULBERG:    Objection.
20                THE WITNESS:    The caveat being the
21   "you" piece.     It being OIR in general.
22   Those two attributes have been described as
23   on average favoring White students, because
24   there are preferences that may benefit that
25   particular group.      So it was an attempt to


                 TSG Reporting - Worldwide - 877-702-9580
          Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 30 of 58


                                                                           Page 115
1                   MARK HANSEN - HIGHLY CONFIDENTIAL
2    remove that preference from the
3    comparison.
4                    (BY MR. CONNOLLY):
5              Q.    Do you recall Dean Fitzsimmons ever
6    discussing the effects of legacies and
7    athletes on Asians?
8                    MR. DULBERG:    Objection.
9                    THE WITNESS:    Not on Asians, no.
10                   (BY MR. CONNOLLY):
11             Q.    In general?
12             A.    Yes.
13             Q.    What did he say about the effect of
14   legacies and athletes?
15                   MR. DULBERG:    Objection.
16                   THE WITNESS:    I have a vague
17   recollection of him describing it as a
18   preference that typically benefits White
19   students.
20                   (BY MR. CONNOLLY):
21             Q.    How would you describe the white
22   admit rate and the Asian admit rate on page
23   6?
24                   MR. DULBERG:    Objection.
25                   THE WITNESS:    Whites admit rate is


                    TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 31 of 58


                                                                        Page 116
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    generally higher than the Asian admit rate,
3    and both are -- even to the most qualified
4    applicants, are just below 50 something
5    percent, 52.
6                 (BY MR. CONNOLLY):
7           Q.    Does this chart show that for
8    Whites and Asians who have the same
9    academic index, Whites are admitted at a
10   higher rate?
11                MR. DULBERG:    Objection.
12                THE WITNESS:    Yes.
13                (BY MR. CONNOLLY):
14          Q.    Do you have an explanation for that
15   finding?
16                MR. DULBERG:    Objection.
17                THE WITNESS:    I'm not sure what
18   you're asking; impossible or?
19                (BY MR. CONNOLLY):
20          Q.    Do you have any explanation for why
21   White students were being admitted at a
22   higher rate than Asian students when the
23   academic index was the same?
24                MR. DULBERG:    Objection.
25                THE WITNESS:    Only academic index


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 32 of 58


                                                                        Page 118
1                  MARK HANSEN - HIGHLY CONFIDENTIAL
2                   MR. DULBERG:   Objection.
3                   THE WITNESS:   I'm not sure I can
4    correctly.       There are odds ratios with mean
5    effect logistic progression model.
6                   (BY MR. CONNOLLY):
7             Q.    How would you describe African
8    Americans as it appears on this chart?
9                   MR. DULBERG:   Objection.
10                  THE WITNESS:   I'm not sure what
11   your asking.
12                  (BY MR. CONNOLLY):
13          Q.      Are you on page 65749?
14          A.      I'm on 8.   I'm sorry.
15          Q.      On page 65749, can you describe to
16   me generally what is happening on this
17   chart?
18                  MR. DULBERG:   Objection.
19                  THE WITNESS:   So these are
20   coefficients associated with various
21   predictors in the logistical progression
22   model, predicting admissions into Harvard
23   College.
24                  (BY MR. CONNOLLY):
25          Q.      How would you describe what this


                   TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 33 of 58


                                                                        Page 119
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    chart is indicating about African
3    Americans?
4                 MR. DULBERG:    Objection.
5                 THE WITNESS:    I'm not sure that my
6    memory is good enough to give you a correct
7    answer.
8                 (BY MR. CONNOLLY):
9           Q.    Would you say that being an African
10   American is strongly correlated with the
11   likelihood of being admitted to Harvard?
12                MR. DULBERG:    Objection.
13                THE WITNESS:    I would use the term
14   associated with higher probability.           I
15   don't know if I characterize the
16   correlation as strong or weak.
17                (BY MR. CONNOLLY):
18          Q.    So strongly associated with?
19                MR. DULBERG:    Objection.
20                THE WITNESS:    I would say
21   associated with.      I would not make any size
22   characterization.
23                (BY MR. CONNOLLY):
24          Q.    Would you say it would be
25   positively associated with admissions?


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 34 of 58


                                                                        Page 120
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2                 MR. DULBERG:    Objection.
3                 THE WITNESS:    Yes, controlling
4    various factors in this model.
5                 (BY MR. CONNOLLY):
6           Q.    And is that the purpose of this
7    type of model?     To control for various
8    factors?
9                 MR. DULBERG:    Objection.
10                THE WITNESS:    Yes.
11                (BY MR. CONNOLLY):
12          Q.    How would you describe the effect
13   of being Asian according to this model?
14                MR. DULBERG:    Objection.
15                THE WITNESS:    Negatively associated
16   with the probability of admissions
17   controlling for other factors.
18                (BY MR. CONNOLLY):
19          Q.    Do you remember having a reaction
20   when you saw this chart?
21                MR. DULBERG:    Objection.
22                THE WITNESS:    I don't recall.
23                (BY MR. CONNOLLY):
24          Q.    Turn to page 65753.      It says
25   "conclusions" at the top?


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 35 of 58


                                                                        Page 123
1                 MARK HANSEN - HIGHLY CONFIDENTIAL
2    you to the bottom line of text next to
3    personal rating?
4                  MR. DULBERG:   Objection.
5                  THE WITNESS:   Could you repeat the
6    question.
7                  (BY MR. CONNOLLY):
8            Q.    So the bottom text says:       "School
9    support and alumni interviews."          And to the
10   right it says:      "Accounts for 20 percent of
11   the variation in personal rating."
12                 Do you know what you meant by
13   that?
14                 MR. DULBERG:   Objection.
15                 THE WITNESS:   So answering "you" in
16   the general OIR sense, I can interpret
17   that.   And I would interpret it as if you
18   viewed personal rating as a composite, only
19   20 percent of it variation in personal
20   ratings.      Only 20 percent of that variation
21   is accounted for, interviews et cetera.
22                 There is 80 percent that is
23   unaccounted for.      However, we don't have
24   the numeric evaluation.        So we don't know
25   how that fits into the construction of


                  TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 36 of 58


                                                                        Page 124
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    personal rating.
3                 (BY MR. CONNOLLY):
4           Q.    Do you have any idea of what the
5    other 80 percent is that could be effecting
6    the personal rating?
7                 MR. DULBERG:    Objection.
8                 THE WITNESS:    No.
9                 (BY MR. CONNOLLY):
10          Q.    If you turn to page 65757.        Do you
11   know what is meant by other
12   possibilities?
13          A.    I don't know.
14          Q.    Do you remember ever providing the
15   information in this chart.         Do you ever
16   remember providing any of the information
17   in this document to anyone else?
18                MR. DULBERG:    Objection.
19                THE WITNESS:    I don't recall.
20                (BY MR. CONNOLLY):
21          Q.    Do you remember taking any action
22   in response to this document?
23                MR. DULBERG:    Objection.
24                THE WITNESS:    I don't recall.       I'm
25   not quite sure what this document is.


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 37 of 58


                                                                        Page 129
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    more to see if there are other explanations
3    and co-founded factors.
4                 (BY MR. CONNOLLY):
5           Q.    Do you believe that any of the
6    information in this document is evidence
7    that Asians are disadvantaged in the
8    admissions process by Harvard?
9                 MR. DULBERG:    Objection.
10                THE WITNESS:    I don't know that I
11   agree with your characterization.
12                (BY MR. CONNOLLY):
13          Q.    How would you characterize it?
14                MR. DULBERG:    Objection.
15                THE WITNESS:    The use of "by
16   Harvard" I think would imply intent.           So
17   you could use this as evidence that Asians
18   are disadvantaged in the admissions process
19   at Harvard.
20                I don't know that you could say
21   they are intentionally disadvantaged by
22   Harvard in the admissions process.
23                (BY MR. CONNOLLY):
24          Q.    Do you know of anyone else who
25   would have seen any of the information in


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 38 of 58


                                                                        Page 130
1                 MARK HANSEN - HIGHLY CONFIDENTIAL
2    this document?
3                  MR. DULBERG:    Objection.
4                  THE WITNESS:    Specifically no, but
5    generally it's likely others on the OIR
6    team would have seen information in this
7    document.
8                  (BY MR. CONNOLLY):
9            Q.    Dean Fitzsimmons?
10                 MR. DULBERG:    Objection.
11                 THE WITNESS:    Not knowing exactly
12   what this is, I couldn't say.         He certainly
13   seen a portion of this.
14                 MR. CONNOLLY:    I will mark as
15   Exhibit 6 an E-mail with the Bates number
16   8791.
17                 (Whereupon, Exhibit No. 6, E-mail
18                  to Elizabeth Yong, was marked for
19                  identification)
20                 (BY MR. CONNOLLY):
21           Q.    Please review this, and let me know
22   when you have finished.        Do you remember
23   this E-mail?
24           A.    Generally no, but I believe a copy
25   of it was presented to me during


                  TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 39 of 58


                                                                        Page 136
1                  MARK HANSEN - HIGHLY CONFIDENTIAL
2                   THE WITNESS:   I do not, no.
3                   (BY MR. CONNOLLY):
4             Q.    Do you remember Dean Fitzsimmons
5    ever asking you or anyone at OIR to look
6    into the admissions probabilities of low
7    income students to Harvard?
8                   MR. DULBERG:   Objection.
9                   THE WITNESS:   I can't recall.
10                  (BY MR. CONNOLLY):
11          Q.      If you turn to page 4, Bates number
12   69813.    Can you describe to me generally
13   what this chart represents?
14                  MR. DULBERG:   Objection.
15                  THE WITNESS:   It looks like it's
16   comparing various subgroups of the
17   admissions population, the admit rates for
18   those with academic ratings of 1 or 2 to
19   those without.
20                  (BY MR. CONNOLLY):
21          Q.      What does this chart show for
22   athletes?
23                  MR. DULBERG:   Objection.
24                  THE WITNESS:   So for the 501
25   students over the span of time that were


                   TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 40 of 58


                                                                        Page 137
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    flagged as being athletes and having an
3    academic rating of 1 or 2, their admit rate
4    was somewhere between 80 and 90 percent.
5    Versus about 16 percent for anyone who is
6    non-athlete, I think academic 1 or 2.
7                 (BY MR. CONNOLLY):
8           Q.    How would you describe what this
9    chart shows about Asians?
10                MR. DULBERG:    Objection.
11                THE WITNESS:    So for Asian
12   applicants with an academic rating of 1 or
13   2, their admit rate is a little above 10
14   percent.
15                And for non-Asian students or
16   applicants, with academic ratings of 1 or
17   2, their admit rate is a little above 16
18   percent.
19                (BY MR. CONNOLLY):
20          Q.    Do you have any explanation for why
21   Asians with an academic 1 or 2 are admitted
22   at a lower rate than others?
23                MR. DULBERG:    Objection.
24                THE WITNESS:    I do not.
25                (BY MR. CONNOLLY):


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 41 of 58


                                                                        Page 139
1                 MARK HANSEN - HIGHLY CONFIDENTIAL
2                  MR. DULBERG:   Objection.
3                  THE WITNESS:   I would not qualify
4    it in anyway, but I would want to learn m
5    more.
6                  (BY MR. CONNOLLY):
7            Q.    Would you describe it as
8    evidence -- some evidence that Asians are
9    disadvantaged in the admissions process?
10                 MR. DULBERG:   Objection.
11                 THE WITNESS:   Yes.
12                 (BY MR. CONNOLLY):
13           Q.    If you could go back to Exhibit --
14   I believe it's 5, real quick.         This one.
15                 Would you describe this document as
16   providing evidence that Asians were
17   disadvantaged in the admissions process,
18   but you were not sure whether it was
19   intentional?      Do I have that right?
20                 MR. DULBERG:   Objection.
21                 THE WITNESS:   I think so.
22                 (BY MR. CONNOLLY):
23           Q.    For example, on page 9, Bates
24   number 65749, which shows that being Asian
25   is negatively associated with admissions to


                  TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 42 of 58


                                                                        Page 150
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2                 MR. DULBERG:    Objection.
3                 THE WITNESS:    So it is output from
4    a logistical progression model.          The first
5    column is the variable.        The second column
6    would be the estimated coefficient, and the
7    third column would be a statistical
8    significance value.
9                 (BY MR. CONNOLLY):
10          Q.    Could you describe to me what this
11   chart shows for legacies?
12                MR. DULBERG:    Objection.
13                THE WITNESS:    I'm not quite sure
14   what these coefficients are.         There is a
15   table where there are odd ratios, and then
16   some other numbers.       They are essentially
17   the same thing.     Generally it shows
18   positive association between admissions to
19   Harvard and being a legacy.
20                (BY MR. CONNOLLY):
21          Q.    Does this is show a positive
22   association between being African American
23   and being admitted to Harvard?
24                MR. DULBERG:    Objection.
25                THE WITNESS:    Yes.


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 43 of 58


                                                                        Page 151
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2                 (BY MR. CONNOLLY):
3           Q.    What does it show for Asians?
4           A.    It would show what I think is a
5    negative association.       For all of these
6    statements, this is controlling for all of
7    the other factors involved.
8           Q.    Would you agree that this is some
9    evidence that Asians are disadvantaged in
10   the admissions process at Harvard?
11                MR. DULBERG:    Objection.
12                THE WITNESS:    Yes.
13                (BY MR. CONNOLLY):
14          Q.    Do you have any explanation for why
15   being Asian is negatively associated with
16   being admitted to Harvard?
17                MR. DULBERG:    Objection.
18                THE WITNESS:    I do not, but
19   although I did notice the memo pointed out
20   some caveats about this type of analysis.
21   So it was a progression in general.
22                I may note this analysis should not
23   be considered exhaustive.        So there are
24   other factors that could have been tested
25   that were not.     At least in what was


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 44 of 58


                                                                        Page 157
1                  MARK HANSEN - HIGHLY CONFIDENTIAL
2    positive relationship between being both
3    Asian and low income, and the probability
4    of admission into Harvard College
5    controlling for all of the elements in this
6    model.
7                   (BY MR. CONNOLLY):
8             Q.    How would you describe what is
9    being shown by the variable Asians?
10                  MR. DULBERG:   Objection.
11                  THE WITNESS:   That it is associated
12   with -- so that variable is associated with
13   a lower probability of admissions to
14   Harvard College, controlling for all of the
15   other factors in this model.
16                  (BY MR. CONNOLLY):
17          Q.      Would you say it's negatively
18   associated?
19          A.      I'm sorry -- yes.
20          Q.      Flip back to Exhibit 8 of the May
21   1st memo that we looked at, the Bates stamp
22   23550.
23                  Would you agree that these two
24   charts are similar, except that the chart
25   on the most recent Exhibit is looking at


                   TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 45 of 58


                                                                        Page 161
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2                 (BY MR. CONNOLLY):
3           Q.    Maybe I'm not phrasing it right.          I
4    thought earlier we had discussed you
5    analyzing or trying to analyze how
6    admissions officers were reading files.
7    And you saying that you found the data not
8    useful.
9                 Do you recall any of that
10   discussion?
11                MR. DULBERG:    Objection.
12   Mischaracterization of his testimony.
13                THE WITNESS:    I recall something to
14   that effect.
15                (BY MR. CONNOLLY):
16          Q.    Can you explain to me what that
17   analysis was that you were doing?
18                MR. DULBERG:    Objection.
19                THE WITNESS:    So first of all, to
20   the best of my knowledge, no analysis
21   occurred.     And I don't know that I would
22   characterize it as a behavior of specific
23   admission readers.
24                (BY MR. CONNOLLY):
25          Q.    So what type of information did you


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 46 of 58


                                                                        Page 162
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    try to get?
3                 MR. DULBERG:    Objection.
4                 THE WITNESS:    Who reviewed what
5    files or what cases.
6                 (BY MR. CONNOLLY):
7           Q.    And did you receive that
8    information?
9           A.    I believe we did, yes.
10          Q.    Was it helpful in understanding why
11   Asians were disadvantaged in the admissions
12   process?
13                MR. DULBERG:    Objection.
14                THE WITNESS:    The data received
15   wasn't useful in conducting any analysis.
16                (BY MR. CONNOLLY):
17          Q.    Did you conduct any analysis in
18   whether Asians are disadvantaged in the
19   admissions process that we have not looked
20   at today?
21                MR. DULBERG:    Objection.
22                THE WITNESS:    I'm sorry.      Nothing
23   comes to mind.
24                (BY MR. CONNOLLY):
25          Q.    Do you recall anyone at Harvard


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 47 of 58


                                                                        Page 163
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    making any changes to admissions policies
3    based on your analysis?
4                 MR. DULBERG:    Objection.
5                 THE WITNESS:    I don't know.
6                 (BY MR. CONNOLLY):
7           Q.    Is your answer that you are not
8    aware of any?
9                 MR. DULBERG:    Objection.
10                THE WITNESS:    I have no insight
11   into the admissions process -- sorry.
12                I have no insight into any change
13   that occurred in the admissions process, if
14   any.
15                (BY MR. CONNOLLY):
16          Q.    So you're not aware of any
17   changes?
18                MR. DULBERG:    Objection.
19                THE WITNESS:    I'm not aware of any
20   changes.
21                (BY MR. CONNOLLY):
22          Q.    What is the last analysis that you
23   can recall -- strike that.
24                Do you recall ever finishing your
25   analysis into whether Asians were being


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 48 of 58


                                                                        Page 164
1                  MARK HANSEN - HIGHLY CONFIDENTIAL
2    disadvantaged by Harvard's admissions
3    process?
4                   MR. DULBERG:   Objection.
5                   THE WITNESS:   I do not.
6                   (BY MR. CONNOLLY):
7             Q.    And why is that?
8                   MR. DULBERG:   Objection.
9                   THE WITNESS:   That I don't recall?
10                  (BY MR. CONNOLLY):
11          Q.      Yes?
12          A.      I don't have any recollection of
13   any event that would have marked the
14   completion of the project.          So it would
15   have been delivery of the memo that kind of
16   thing.    I have no recollection of that.
17          Q.      Did anyone ever tell you to stop
18   analyzing this issue?
19                  MR. DULBERG:   Objection.     Asked and
20   answered.
21                  THE WITNESS:   No.
22                  (BY MR. CONNOLLY):
23          Q.      Are you aware of anyone ever
24   criticizing the analysis that you did into
25   whether Harvard's admissions process


                   TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 49 of 58


                                                                        Page 165
1                  MARK HANSEN - HIGHLY CONFIDENTIAL
2    disadvantaged Asians?
3                   MR. DULBERG:    Objection.
4                   THE WITNESS:    I'm not aware of
5    anyone.
6                   (BY MR. CONNOLLY):
7             Q.    Did you ever do any other analysis
8    into racial preferences into the admissions
9    process other than what we have discussed
10   today?
11                  MR. DULBERG:    Objection.
12                  THE WITNESS:    I don't know.
13                  (BY MR. CONNOLLY):
14          Q.      Have you ever seen the initials
15   "CJ" used in the admissions context?
16                  MR. DULBERG:    Objection.
17                  THE WITNESS:    No.
18                  (BY MR. CONNOLLY):
19          Q.      You ever heard the phrase that
20   someone is a "CJ-er"?
21                  MR. DULBERG:    Objection.
22                  THE WITNESS:    No.
23                  MR. CONNOLLY:    I will mark as
24   Exhibit 11, a document with the Bates
25   number 74744.


                   TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 50 of 58


                                                                        Page 172
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    possible that bias against Asians is a
3    cause of this negative association?
4                 MR. DULBERG:    Objection.
5                 THE WITNESS:    So none of my work
6    involves establishing causality.          So I have
7    no way to comment either way.
8                 (BY MR. CONNOLLY):
9           Q.    But you agree that it's possible?
10                MR. DULBERG:    Objection.
11                THE WITNESS:    It's possible, but
12   again none of the work is causal.          You're
13   asking me to speculate.        I would say
14   hypothetically possible?        It's possible, I
15   don't know.
16                (BY MR. CONNOLLY):
17          Q.    Do you have any explanation for why
18   being Asian is negatively associated with
19   being admitted to Harvard other than
20   intentional discrimination?
21                MR. DULBERG:    Objection.      Asked and
22   answered.
23                THE WITNESS:    Yes.
24                (BY MR. CONNOLLY):
25          Q.    And what are those possible


                 TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 51 of 58


                                                                        Page 180
1                 MARK HANSEN - HIGHLY CONFIDENTIAL
2                  (BY MR. CONNOLLY):
3            Q.    As a general matter, did you try to
4    gather all data that could be relevant to
5    your analysis into whether Asians are
6    disadvantaged in the admissions process?
7                  MR. DULBERG:   Objection.
8                  THE WITNESS:   To the best of my
9    recollection, yes.
10                 (BY MR. CONNOLLY):
11           Q.    What is inter-rater data?
12                 MR. DULBERG:   Objection.
13                 THE WITNESS:   So in all this there
14   is some subjective component.         Essays are
15   read and some kind of evaluation is made of
16   them.
17                 It's not clear that rater number
18   one is necessarily evaluating the essays
19   that he or she is reviewing the same way
20   that rater number 2 is.
21                 (BY MR. CONNOLLY):
22           Q.    Okay.   And I believe your testimony
23   was that you looked at inter-rater data or
24   you attempted to gather data -- is your
25   testimony that you attempted to gather


                  TSG Reporting - Worldwide - 877-702-9580
       Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 52 of 58


                                                                        Page 182
1                MARK HANSEN - HIGHLY CONFIDENTIAL
2    disadvantaged in the admissions process,
3    would you agree that the only other
4    explanation is bias against Asians by the
5    admissions office?
6                 MR. DULBERG:    Objection.
7                 THE WITNESS:    I think you're
8    getting into causality again.         So the
9    statement you made is causal.         So these
10   data and anything else we have done can
11   either prove or disprove kind of a causal
12   statement.
13                (BY MR. CONNOLLY):
14          Q.    Do you have any explanation other
15   than intentional discrimination for your
16   conclusions regarding the negative
17   association between Asians and the Harvard
18   admissions process?
19                MR. DULBERG:    Objection.      Asked and
20   answered.
21                THE WITNESS:    I don't.
22                MR. CONNOLLY:     Let's take another
23   break.
24                (Off the record at 4:30 PM)
25                (Back on the record at 4:42 PM)


                 TSG Reporting - Worldwide - 877-702-9580
     Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 53 of 58


                                                                      Page 205
1    NAME OF CASE:
2    DATE OF DEPOSITION:
3    NAME OF WITNESS:
4    Reason Codes:
5          1.   To clarify the record.
6          2.   To conform to the facts.
7          3.   To correct transcription errors.
8    Page ______ Line ______ Reason ______
9    From _____________________ to _____________________
10   Page ______ Line ______ Reason ______
11   From _____________________ to _____________________
12   Page ______ Line ______ Reason ______
13   From _____________________ to _____________________
14   Page ______ Line ______ Reason ______
15   From _____________________ to _____________________
16   Page ______ Line ______ Reason ______
17   From _____________________ to _____________________
18   Page ______ Line ______ Reason ______
19   From _____________________ to _____________________
20   Page ______ Line ______ Reason ______
21   From _____________________ to _____________________
22   Page ______ Line ______ Reason ______
23   From _____________________ to _____________________
24
                                       ________________________
25


             TSG Reporting - Worldwide - 877-702-9580
Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 54 of 58
Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 55 of 58
Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 56 of 58
Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 57 of 58
Case 1:14-cv-14176-ADB Document 421-10 Filed 06/15/18 Page 58 of 58
